                                                Case 3:23-cv-01710-AMO Document 290 Filed 08/04/23 Page 1 of 7




                                           1   STEVEN ALBERTSON (pro hac vice)
                                               FENWICK & WEST LLP
                                           2   733 10th Street, NW
                                               Suite 400
                                           3   Washington, D.C. 20001
                                               Telephone:     (202) 970-3000
                                           4   salbertson@fenwick.com

                                           5   ERICA R. SUTTER (CSB No. 309182)
                                               FENWICK & WEST LLP
                                           6   902 Broadway, Suite 18
                                               New York, NY 10010
                                           7   Telephone:   (212) 430-2600
                                               esutter@fenwick.com
                                           8
                                               Attorneys for Non-Party PollyEx, Inc.
                                           9

                                          10                                  UNITED STATES DISTRICT COURT
                                          11                             NORTHERN DISTRICT OF CALIFORNIA

                                          12                                     SAN FRANCISCO DIVISION
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13
                                                                                               Case No.: 3:23-CV-01710-AMO
                                          14   FEDERAL TRADE COMMISSION,
                                                                                               NON-PARTY POLLYEX, INC.’S
                                          15                     Plaintiff,                    SUPPLEMENTAL ADMINISTRATIVE
                                                                                               MOTION SEEKING IN CAMERA
                                          16          v.                                       TREATMENT OF CERTAIN
                                                                                               EXHIBITS PURSUANT TO LOCAL
                                          17   INTERCONTINENTAL EXCHANGE, INC.,                RULE 7-11
                                               and BLACK KNIGHT, INC.,
                                          18
                                                                 Defendants.
                                          19

                                          20

                                          21

                                          22

                                          23

                                          24

                                          25

                                          26

                                          27

                                          28    NON-PARTY POLLYEX, INC.’S
                                                SUPPLEMENTAL ADMINISTRATIVE
                                                MOTION SEEKING IN CAMERA
                                                TREATMENT                                                    Case No.: 3:23-CV-01710-AMO
                                                                                           1
                                                   Case 3:23-cv-01710-AMO Document 290 Filed 08/04/23 Page 2 of 7




                                           1           Pursuant to Civil Local Rule 7-11 and the Amended Scheduling Order in this case (ECF

                                           2   No. 278), Non-Party PollyEx, Inc. (“Polly”), respectfully requests that the Court seal from public

                                           3   disclosure and permit in camera treatment of Polly’s highly confidential documents that have been

                                           4   identified by Defendants Intercontinental Exchange, Inc. (“ICE”) and Black Knight, Inc. (“Black

                                           5   Knight” and, together with ICE, “Defendants”) as exhibits.

                                           6           On July 12, 2023, Polly submitted a Motion Seeking In Camera Treatment of Certain

                                           7   Exhibits, Deposition Testimony, and Live Testimony Pursuant to Local Rule 7-11 (ECF No. 235)

                                           8   (“Polly’s First Motion”) in accordance with the Scheduling Order that was effective in this case at

                                           9   that time (ECF No. 118, as amended by ECF No. 163). On July 14, 2023, following Polly’s

                                          10   submission, counsel for ICE informed Polly that Defendants, intended to offer as evidence 10

                                          11   additional documents designated by Polly as “Confidential” and subject to the Protective Order in

                                          12   this case (ECF No. 137)1 (“Defendants’ Second Notice Letter”). None of these documents were
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13   previously identified by Defendants in their previous notification letter dated July 7, 2023

                                          14   (“Defendants’ First Notice Letter”), although four documents were identified in a similar notice

                                          15   letter from Plaintiff Federal Trade Commission and therefore included in Polly’s First Motion.

                                          16           The present request is consistent with Polly’s First Motion, Polly’s Statement in Support of

                                          17   Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed (ECF No.

                                          18   132), Polly’s Statement in Support of Defendants’ Joint Administrative Motion to Consider

                                          19   Whether Another Party’s Material Should Be Sealed Pursuant to Local Rule 79-5(f) (ECF No. 156),

                                          20   and documents filed in support thereof.

                                          21           The additional material that Polly seeks to maintain under seal (the “Supplemental
                                          22   Exhibits”) is identified below:
                                          23

                                          24
                                               1
                                          25    The materials at issue in this Motion were designated by Polly as “Confidential” subject to the
                                               Protective Order Governing Confidential Materials under Commission Rule 3.31(d) in In the
                                          26   Matter of Intercontinental Exchange, Inc. and Black Knight, Inc., before the United States of
                                               America Federal Trade Commission Office of Administrative Law Judges, Docket No. 9413 (the
                                          27   “Administrative Proceeding”), and are therefore “Confidential” under the Protective Order in this
                                               action as well. See ECF No. 137 at 2.3
                                          28       NON-PARTY POLLYEX, INC.’S
                                                   SUPPLEMENTAL ADMINISTRATIVE
                                                   MOTION SEEKING IN CAMERA
                                                   TREATMENT                                                         Case No.: 3:23-CV-01710-AMO
                                                                                                2
                                                Case 3:23-cv-01710-AMO Document 290 Filed 08/04/23 Page 3 of 7




                                           1    Materials to be    Party Seeking        Basis for Sealing and In Camera Treatment
                                           2       Sealed           Admission
                                               DX 696                Defendants     This is confidential and competitively sensitive
                                           3                                        correspondence including details of Polly’s
                                           4                                        relationship with a key Polly partner, dated
                                                                                    September 7, 2020. Other than its recipient
                                           5                                        partner, Polly has not shared this information
                                                                                    outside of the company, and it is kept
                                           6                                        confidential within the company. Disclosure of
                                                                                    this information could disrupt and impair
                                           7                                        Polly’s relationships with this and its other
                                           8                                        partners and its customers, and provide an unfair
                                                                                    advantage to Polly’s competitors.
                                           9   DX 697                Defendants     This is confidential and competitively sensitive
                                          10                                        correspondence including details of relationship
                                                                                    and strategic plans with a key Polly partner,
                                          11                                        dated September 21, 2020. Polly does not share
                                                                                    information regarding such strategic actions and
                                          12                                        plans widely within Polly, and its distribution
F ENWICK & W EST LLP




                                                                                    outside the company is limited to the receiving
                       ATTORNEYS AT LAW




                                          13                                        Polly partner. Disclosure of this
                                          14                                        correspondence could seriously impair Polly’s
                                                                                    business relationships with its partners going
                                          15                                        forward.

                                          16   DX 698                Defendants     This is a non-final draft investment bank
                                                                                    presentation which is subject to a non-disclosure
                                          17                                        agreement and contains and utilizes confidential
                                                                                    details of Polly’s business strategy, revenues,
                                          18                                        forecasted growth, key customers, product
                                                                                    operation details, internal market and
                                          19
                                                                                    competitive assessments, dated November 17,
                                          20                                        2021. Polly has not shared this information
                                                                                    outside of the company, and it is kept
                                          21                                        confidential within the company. Disclosure of
                                                                                    this confidential presentation would provide
                                          22                                        Polly’s competitors with an unfair advantage,
                                                                                    and could impair Polly’s ability to attract
                                          23
                                                                                    investment.
                                          24

                                          25

                                          26

                                          27

                                          28   NON-PARTY POLLYEX, INC.’S
                                               SUPPLEMENTAL ADMINISTRATIVE
                                               MOTION SEEKING IN CAMERA
                                               TREATMENT                                                Case No.: 3:23-CV-01710-AMO
                                                                                    3
                                                Case 3:23-cv-01710-AMO Document 290 Filed 08/04/23 Page 4 of 7




                                           1    Materials to be    Party Seeking        Basis for Sealing and In Camera Treatment
                                           2       Sealed           Admission
                                               DX 699                Defendants     This is confidential and competitively sensitive
                                           3                                        email correspondence dated September 29, 2021
                                           4                                        involving Polly’s funding and corporate
                                                                                    strategy, and its relationship with a key strategic
                                           5                                        partner. Other than its recipient partner, Polly
                                                                                    has not shared this information outside of the
                                           6                                        company, and it is kept confidential within the
                                                                                    company. Public disclosure of this sensitive
                                           7                                        negotiation could disrupt and impair Polly’s
                                           8                                        ability to attract investment, and its relationships
                                                                                    with other partners.
                                           9   DX 702                Defendants     This is competitively sensitive correspondence
                                          10                                        related to Polly’s strategic relationship with one
                                                                                    of its key partners, and sensitive information
                                          11                                        related to Polly’s fundraising, including
                                                                                    confidential and competitively sensitive
                                          12                                        information related to Polly’s business model,
F ENWICK & W EST LLP




                                                                                    sales, revenues, technology, and strategy, dated
                       ATTORNEYS AT LAW




                                          13                                        November 2, 2021. Other than its recipient
                                          14                                        partner, Polly has not shared this information
                                                                                    outside of the company, and it is kept
                                          15                                        confidential within the company. Public
                                                                                    disclosure of this sensitive negotiation could
                                          16                                        disrupt and impair Polly’s ability to attract
                                                                                    investment, and its relationships with other
                                          17
                                                                                    partners.
                                          18   DX704                 Defendants     This is Polly’s Board of Director materials
                                                                                    containing confidential and competitively
                                          19
                                                                                    sensitive details regarding product plans and
                                          20                                        strategy, customer and business operations
                                                                                    strategy and tactics, sales details and
                                          21                                        projections, customer relationships, intellectual
                                                                                    property and personnel issues, and sensitive
                                          22                                        funding and corporate structure details, dated
                                                                                    July 21, 2021. Polly has not shared this
                                          23
                                                                                    information outside of the company, and it is
                                          24                                        kept confidential within the company.
                                                                                    Disclosure of this confidential presentation
                                          25                                        would provide Polly’s competitors with an
                                                                                    unfair advantage, and could impair Polly’s
                                          26                                        ability to attract investment.
                                          27

                                          28   NON-PARTY POLLYEX, INC.’S
                                               SUPPLEMENTAL ADMINISTRATIVE
                                               MOTION SEEKING IN CAMERA
                                               TREATMENT                                                 Case No.: 3:23-CV-01710-AMO
                                                                                    4
                                                   Case 3:23-cv-01710-AMO Document 290 Filed 08/04/23 Page 5 of 7




                                           1           Like the materials identified in Polly’s First Motion, the above-identified Supplemental

                                           2   Exhibits similarly include or pertain to Polly’s confidential business strategies and communications

                                           3   made in confidence. For the same reasons discussed in Polly’s First Motion, as well as those in the

                                           4   Declaration of Steven Albertson (attached hereto as Exhibit A) (“Albertson Decl.”) and the

                                           5   Declaration of Ryan Hoffman in Support of Non-Party PollyEx, Inc.’s Motion for In Camera

                                           6   Treatment of Certain Exhibits (Albertson Decl., Attach. A) (“Hoffman ALJ Decl.”), the

                                           7   Supplemental Exhibits should remain sealed in this matter.2 See, e.g., Phillips ex rel. Estates of

                                           8   Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002) (explaining that courts have “broad

                                           9   latitude . . . to prevent disclosure of materials for many types of information, including, but not

                                          10   limited to, trade secrets or other confidential research, development, or commercial information.”).

                                          11           The Supplemental Exhibits reveal highly confidential information pertaining to Polly’s

                                          12   business plans or are sensitive communications made in confidence only between Polly and the
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13   receiving party. See Albertson Decl. at ¶ 3; Hoffman ALJ Decl. ¶¶ 10, 12, 16, 18, 21, 23.

                                          14   Disclosure of the information in the Supplemental Exhibits would cause Polly irreparable harm,

                                          15   including harm to Polly’s competitive standing. See Albertson Decl. at ¶ 3; Hoffman ALJ Decl. at

                                          16   Hoffman ALJ Decl. ¶¶ 10, 12, 16, 18, 21, 23. Accordingly, any public interest in disclosure of the

                                          17   limited confidential information is outweighed by the prejudice caused to Polly. See Ctr. for Auto

                                          18   Safety v. Chrysler Group LLC, 809 F.3d 1092 at 1097, (9th Cir. 2016). Courts in this district

                                          19   routinely seal such third-party confidential information. See, e.g., FTC v. Meta Platforms, Inc., No.

                                          20   22-CV-04325-EJD (N.D. Cal. Dec. 5, 2022) (ECF No. 418); Plexxikon Inc. v. Novartis Pharm

                                          21   Corp., No. 17-CV-04405-HSG, 2022 WL 1131725 (N.D Cal. Mar. 31, 2022); see also United

                                          22   States v. Bazaarvoice, Inc., No. 13-CV-00133-WHO, 2014 WL 11297188, at *1 (N.D. Cal. Jan.

                                          23   21, 2014) (sealing third-party material that contained “competitive information that could cause

                                          24
                                               2
                                          25     Defendants also notified Polly that they intend to introduce into evidence DX 701, DX 703, DX
                                               706, and DX 707. These exhibits correspond to PX 3181, PX 3100, PX 3148, and PX 3159,
                                          26   respectively. Albertson Decl. at ¶¶ 10, 12, 14-15. These exhibits were previously discussed in
                                               Polly’s First Motion and the accompanying declaration of Ryan Hoffman. Polly therefore does not
                                          27   address them again in this Motion but maintains its request that these materials remain under seal
                                               for the reasons discussed in Polly’s First Motion.
                                          28       NON-PARTY POLLYEX, INC.’S
                                                   SUPPLEMENTAL ADMINISTRATIVE
                                                   MOTION SEEKING IN CAMERA
                                                   TREATMENT                                                          Case No.: 3:23-CV-01710-AMO
                                                                                                5
                                                 Case 3:23-cv-01710-AMO Document 290 Filed 08/04/23 Page 6 of 7




                                           1   damage to the third parties if made public” and “third parties did not voluntarily put it at issue in

                                           2   this litigation”). Additionally, there are no less restrictive alternatives to sealing the information

                                           3   contained in the Supplemental Exhibits.

                                           4          For the foregoing reasons, Polly respectfully requests that the Court seal the Supplemental

                                           5   Exhibits.

                                           6
                                                  Dated: August 4, 2023                      FENWICK & WEST LLP
                                           7

                                           8
                                                                                             By: /s/ Erica R. Sutter
                                           9                                                     Erica R. Sutter
                                          10                                                      Steven Albertson (pro hac vice)
                                                                                                  FENWICK & WEST LLP
                                          11                                                      733 10th Street, NW
                                                                                                  Suite 400
                                          12                                                      Washington, D.C. 20001
F ENWICK & W EST LLP




                                                                                                  salbertson@fenwick.com
                       ATTORNEYS AT LAW




                                          13                                                      (202) 970-3000
                                          14                                                      Erica R. Sutter (CSB No. 309182)
                                                                                                  FENWICK & WEST LLP
                                          15                                                      902 Broadway, Suite 18
                                                                                                  New York, NY 10010
                                          16                                                      esutter@fenwick.com
                                                                                                  (212) 430-2600
                                          17
                                                                                                  Attorney for Non-Party
                                          18                                                      PollyEx, Inc.
                                          19

                                          20

                                          21

                                          22

                                          23

                                          24

                                          25

                                          26

                                          27

                                          28    NON-PARTY POLLYEX, INC.’S
                                                SUPPLEMENTAL ADMINISTRATIVE
                                                MOTION SEEKING IN CAMERA
                                                TREATMENT                                                              Case No.: 3:23-CV-01710-AMO
                                                                                                 6
                                                 Case 3:23-cv-01710-AMO Document 290 Filed 08/04/23 Page 7 of 7




                                           1                                          PROOF OF SERVICE
                                           2           I, Erica R. Sutter, hereby certify that on August 4, 2023, I caused the foregoing to be
                                           3
                                               electronically filed with the Clerk of the Court using CM/ECF, which will send notification of
                                           4
                                               such filing to all registered participants.
                                           5

                                           6

                                           7   Dated: August 4, 2023

                                           8
                                                                                              By: /s/ Erica R. Sutter
                                           9                                                      Erica R. Sutter

                                          10

                                          11

                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13

                                          14

                                          15

                                          16

                                          17

                                          18

                                          19

                                          20

                                          21

                                          22

                                          23

                                          24

                                          25

                                          26

                                          27

                                          28    NON-PARTY POLLYEX, INC.’S
                                                SUPPLEMENTAL ADMINISTRATIVE
                                                MOTION SEEKING IN CAMERA
                                                TREATMENT                                                               Case No.: 3:23-CV-01710-AMO
                                                                                                 7
